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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          FORT WAYNE DIVISION


UNITED STATES OF AMERICA               )
                                       )
             v.                        )     Cause No. 1:17-CR-66
                                       )
ANDRE J. HOLLIS                        )


                            NOTICE OF PENALTIES

      Comes now, the United States of America by its attorney, Stacey R. Speith,

Assistant United States Attorney, and files its Notice of Penalties in this case, and

states:

      The defendant is charged in a four count Indictment alleging violations of 18

U.S.C. § 1343.

      If convicted, on each count, defendant faces the following penalties: a term of

imprisonment of not more than twenty years, a fine of not more than $250,000.00, or

both such fine and imprisonment, a term of supervised release of not more than 3

years, and a $100.00 special assessment.

                                       Respectfully submitted,

                                       THOMAS L. KIRSCH II
                                       UNITED STATES ATTORNEY


                                        /s/ Stacey R. Speith
                                By:    Stacey R. Speith
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